    Case: 1:18-cv-03611 Document #: 27 Filed: 06/24/21 Page 1 of 2 PageID #:132



                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

KEVIN SROGA,                                       )
                                                   )
              Plaintiff,                           )
                                                   )   Case No. 18-cv-03611
              v.                                   )
                                                   )   Hon. Judge Charles R. Norgle, Sr.
LEROY KAMINISKI, et al.,                           )
                                                   )
              Defendants.                          )
                                                   )
                                                   )
                                                   )
                                                   )


DEFENDANT E & R TOWING’S FIRST MOTION FOR AN EXTENSION OF TIME TO
                RESPOND TO PLAINTIFF’S COMPLAINT

       Defendant E&R Towing (“E&R”), by and through its attorney Bernard F. Crotty of the

Law Office of Bernard F. Crotty, P.C., hereby respectfully moves this Honorable Court for an

extension of time to respond to the Plaintiff’s Complaint through and inclusive of July 12, 2021.

In support of its motion, E&R states as follows:

   1. Plaintiff filed the Complaint on May 22, 2018.

   2. Pursuant to a letter from the United States Marshal Service dated April 26, 2021, Plaintiff

       eventually delivered a request for waiver of service to defendant E&R.

   3. Defendant E&R waived service of summons and the time for E&R to file its answer or

       motion is June 25, 2021.

   4. Upon motion of the defendant City of Chicago and pursuant to an order of this Court

       entered May 17, 2021, defendants City of Chicago and LeRoy Kaminski were granted

       until July 12, 2021 to file their motions to dismiss Plaintiff’s Complaint.
    Case: 1:18-cv-03611 Document #: 27 Filed: 06/24/21 Page 2 of 2 PageID #:133



    5. E&R will be filing a motion to dismiss and anticipates it will have similar grounds to

       those asserted by the City of Chicago and also some additional grounds. For purposes of

       judicial economy, E&R would like to coordinate with the City of Chicago and may seek

       to join portions of the City of Chicago’s motion to dismiss.

    6. This motion is not intended to delay the proceedings, no party will be prejudiced by the

       Court granting this motion, and with all of the defendants’ motions being due on the same

       date of July 12, 2021, the Court can thereafter enter a briefing schedule with the same

       dates for all defendant motions.

    7. URT respectfully requests until July 12, 2021 to file its motion to dismiss the Plaintiff’s

       Complaint.

       WHEREFORE, for the foregoing reasons, E&R Towing respectfully requests this

    Honorable Court to grant it an extension of time to file its motion to dismiss the Plaintiff’s

    Complaint through and inclusive of July 12, 2021.



    Date: June 24, 2021

                                              Respectfully submitted,

                                              E & R TOWING


                                              By:     /s/ Bernard F. Crotty
                                                      Attorney for E&R Towing

Bernard F. Crotty
Law Office of Bernard F. Crotty, P.C.
18861 90th Ave., Suite E
Mokena, Illinois 60448
bc@crottylawoffice.com
(708) 390-2803
Attorney for Defendant E&R Towing




2
